                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í25)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 563 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                   Apr 27, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                             MDL No. 2804



                 SCHEDULE CTOí25 í TAGíALONG ACTIONS



 DIST     DIV.     C.A.NO.    CASE CAPTION


ARIZONA

  AZ        2      18í01150   Phoenix, City of v. Purdue Pharma LP et al

FLORIDA MIDDLE

  FLM       8      18í00859   City of Sarasota v. Purdue Pharma L.P. et al

FLORIDA NORTHERN

                              WASHINGTON COUNTY FLORIDA v.
  FLN       5      18í00093   AMERISOURCEBERGEN DRUG CORPORATION et
                              al

GEORGIA SOUTHERN

                              Lincoln County, Georgia v. Amerisourcebergen Drug
  GAS       1      18í00069   Corporation et al
                              McDuffie County, Georgia v. Amerisourcebergen Drug
  GAS       1      18í00070   Corporation et al

KENTUCKY EASTERN

                              Attorney General v. AmerisourceBergen Drug
  KYE       7      18í00050   Corporation et al Opposed 4/26/18

MASSACHUSETTS

                              City of Lowell v. Amerisourcebergen Drug Corporation
  MA        1      18í10729   et al

MISSISSIPPI SOUTHERN

                              City of Hattiesburg, Mississippi v. Amerisourcebergen
  MSS       2      18í00068   Drug Corporation et al

NEW HAMPSHIRE
  NH      1         18í00293   Keene, NH, City of v. Purdue Pharma L.P. et al

NORTH CAROLINA EASTERN

                               Martin County, NC v. AmerisourceBergen Drug
  NCE     4         18í00071   Corporation et al

RHODE ISLAND

                               Town of East Greenwich v. Amerisourcebergen Drug
  RI      1         18í00204   Corporation et al

TENNESSEE EASTERN

                               Hamilton County, Tennessee v. Purdue Pharma L.P. et
  TNE     1         18í00061
                               al (TV3)
